Case 6:19-cv-00378-RBD-GJK Document 32 Filed 08/08/19 Page 1 of 2 PageID 161



                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 JESSE CARTER, individually and                       CASE NO.: 6:19-cv-378-ORL-37GJK
 on behalf of all others similarly situated,
                                                      CLASS ACTION
        Plaintiffs,
 v.

 GREEN CASH, LLC, a foreign corporation,
 and WD SERVICES, LLC, a foreign corporation,

       Defendants.
 ___________________________________/


      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT
                  WD SERVICES, LLC, WITHOUT PREJUDICE


       COMES NOW the Plaintiff, JESSE CARTER, by and through the undersigned counsel,

gives notice of a voluntary dismissal of Defendant WD SERVICES, LLC, in the above-styled

action, without prejudice, with each party to bear its own attorneys’ fees and costs in accordance

with the agreement between the parties.

       Dated this 8th day of August, 2019.                  Respectfully submitted,

                                                            /s/ ​Jacob Phillips
                                                            Jacob L. Phillips, Esq.
                                                            Florida Bar No.: 120130
                                                            Edmund A. Normand, Esq.
                                                            Florida Bar No.: 865590
                                                            NORMAND PLLC
                                                            3165 McCrory Place, Ste. 175
                                                            Orlando, Florida 32803
                                                            Tel: 407-603-6031
                                                            Fax: 888-974-2175
                                                            jacob.phillips@normandpllc.com
                                                            ed@normandpllc.com
                                                            service@normandpllc.com
                                                1
Case 6:19-cv-00378-RBD-GJK Document 32 Filed 08/08/19 Page 2 of 2 PageID 162




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of August, 2019, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice of

electronic filing to all parties who have elected to receive such service.


                                                              /s/ Jacob Phillips
                                                              Jacob L. Phillips
                                                              Florida Bar No.: 120130




                                                  2
